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5
                               UNITED STATES DISTRICT COURT
6
                               EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8                                               NO. CR-07-2063-LRS-2
                       Plaintiff,
9
                 v.                             ORDER DECLARING MISTRIAL AND
10                                              SETTING NEW TRIAL DATE AND
      MICHAEL ALLEN BRIGGS,                     PRETRIAL CONFERENCE DATE
11
                       Defendant.
12

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14        This matter came on for jury trial on June 23, 2008, and

15   concluded on June 24, 2008 when the Court declared a mistrial on

16   Counts 1 and 2 of the Indictment (Ct. Rec. 39).               The government was

17   represented by Assistant United States Attorney James P. Hagarty. The

18   Defendant, Michael Allen Briggs, was present and represented by

19   Timothy D. Cotterell, appointed counsel.             This Order is entered to

20   memorialize the oral rulings of the Court.

21        On June 24, 2008, the jury in the above-captioned case sent a

22   note to the Court, indicating that they were unable to reach a

23   unanimous verdict.    Following receipt of the note, the Court examined

24   the jury, in the presence of counsel, and the Defendant and gave both

25   counsel the opportunity to ask additional questions of the jury

26   (neither elected to do so) before declaring a mistrial.                  The Court


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1    concluded that the jury was hopelessly deadlocked and that further

2    deliberation would not assist in reaching a unanimous verdict.

3         Accordingly, the Court declared a mistrial and discharged the

4    jury without objection from either the United States or the Defendant

5    on June 24, 2008.    The United States requested that a new trial date

6    be set.   Both counsel for the United States and the Defendant,

7    however, asked that the date of retrial be delayed until late

8    September to accommodate preparation and trial schedule needs.                    The

9    Court noted of record that the new date fell beyond the normal speedy

10   trial deadlines and discussed this fact with the Defendant and counsel

11   before accepting a written, signed waiver from the Defendant

12   concerning speedy trial rights for the anticipated delay incident to

13   the new trial setting.

14        IT IS HEREBY ORDERED:

15        1.   The Court declares a MISTRIAL on Counts 1 and 2 of the

16   Indictment (Ct. Rec. 39).

17        2.   Defendant's new speedy trial interval on Counts 1 and 2 of

18   the Indictment shall begin with the entry of this Order memorializing

19   the oral ruling of the Court.       See 18 U.S.C. § 3161(e) (stating trial

20   to “commence within seventy days from the date the action occasioning

21   the retrial becomes final”); United States v. Crooks, 804 F.2d 1441

22   (9th Cir. 1986) (holding under 18 U.S.C. § 3161(e) that “district

23   court’s order, not the dismissal of the jury, constituted the action

24   occasioning the new trial”).       Defendant signed a waiver of speedy

25   trial rights in open court.       Pursuant to 18 U.S.C. § 3161(h), and for

26   reasons placed of record by both counsel and acknowledged by the


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1    Defendant, the Court DECLARES EXCLUDABLE from Speedy Trial Act

2    calculations the period from June 25, 2008, the date the new speedy

3    trial interval begins, through September 22, 2008, the new date of the

4    trial.

5         3.   A pretrial conference is SET for September 11, 2008 at 11:00

6    a.m. in Yakima, Washington.

7         4.     Defendant’s NEW TRIAL on Counts 1 and 2 of the Indictment is

8    set for September 22, 2008 at 9:00 a.m. in Yakima, Washington.

9    Counsel shall meet with the Court in Chambers at 8:30 a.m. on the day

10   of trial.   Any motions will be addressed at a pretrial conference in

11   open court at 8:30 a.m.

12        5.   The Court RESERVED ruling on Defendant’s Motion for

13   Acquittal, pursuant to Federal Rules of Criminal Procedure, Rule

14   29(b).    The Court will decide the motion after briefing is received

15   from the parties.    Such briefing shall be filed on or before July 24,

16   2008.

17        IT IS SO ORDERED.      The District Court Executive is directed to

18   enter this order and to provide copies to all counsel, the U.S.

19   Marshal Service, and the Jury Administrator.

20        DATED this 26th day of June, 2008.

21
                                                  s/Lonny R. Suko
22                                       __________________________________
                                                    LONNY R. SUKO
23                                          United States District Judge

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